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                                  Exhibit 2:
  Attachment C6 to I-70 East ROD 1: Phase 1 (Central 70 Project):
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       LIST OF ACRONYMS
       AM               Morning
       APCD             Air Pollution Control Division
       CDOT             Colorado Department of Transportation
       CDPHE            Colorado Department of Health and Environment
       CFR              Code of Federal Regulations
       DRCOG            Denver Regional Council of Governments
       EIS              Environmental Impact Statement
       EPA              U.S. Environmental Protection Agency
       FHWA             Federal Highway Administration
       GHG              Greenhouse gas
       I-25             Interstate 25
       I-70             Interstate 70
       I-225            Interstate 225
       I-270            Interstate 270
       LOS              Level of service
       MOVES2010b       Motor Vehicle Emission Simulator version 2010b
       MSAT             Mobile source air toxic
       NAAQS            National ambient air quality standards
       NEPA             National Environmental Policy Act
       PM               Afternoon
       PM10             Particulate matter of 10 microns or less in diameter
       ppm              Parts per million
       ROD              Record of Decision
       RTP              Regional Transportation Plan
       SIP              State Implementation Plan
       TIP              Transportation Improvement Program
       VMT              Vehicle miles traveled
       μg/m3            Micrograms per cubic meter




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  1 PURPOSE OF THIS REPORT

  This document has been prepared to provide updates to the analyses that predict potential impacts to air
  quality in the designated air quality study area for the Interstate 70 (I-70) East Project as defined in the
  Final Environmental Impact Statement (Final EIS). Updates included in this report are for the air quality
  analyses considered for National Environmental Policy Act (NEPA) purposes and to compare the reasonable
  alternatives discussed in the Final EIS. A separate document has been prepared to detail the draft
  transportation conformity analysis and the conformity determination for the project.

  As outlined in the Final EIS, it is the intent of the Federal Highway Administration (FHWA) and the Colorado
  Department of Transportation (CDOT) to implement the Preferred Alternative of the I-70 East Project in its
  entirety. However, due to current funding limitations, there is only enough money to implement Phase 1 of
  the Preferred Alternative, which is herein referred to as the Central 70 Project. The Record of Decision
  (ROD) for the Central 70 Project allows it to move forward into construction. The Central 70 Project
  incorporates portions of the identified Preferred Alternative, the Partial Cover Lowered Alternative with
  Managed Lanes Option. It includes all construction and mitigation commitments included in the Preferred
  Alternative from Brighton Boulevard to Chambers Road. It also includes several minor design changes that
  occurred in consideration of comments received on the Final EIS.


  2 CHANGES SINCE THE FINAL EIS

  Changes or updates to the air quality analysis are documented within the following topical categories:

         Minor adjustments and refinements to the design of the Preferred Alternative resulting from public
          and agency comments on the Final EIS and continued evaluation of the Build Alternatives
         Release of the 2040 Focus travel demand model by the Denver Regional Council of Governments
          (DRCOG) and subsequent update of the Regional Transportation Plan (RTP) planning horizon year
          and year of peak emissions from 2035 to 2040
         A change to locations modeled in the PM10 analysis, focusing on maximum receptor areas for PM10,
          as identified in the Final EIS
  Through Interagency Consultation, it was confirmed that some of the content of the Final EIS need not be
  revised based on the updates noted above. Items not updated in this document include the emissions
  inventory of health-based National Ambient Air Quality Standards (NAAQS), mobile source air toxics
  (MSATs), and greenhouse gases (GHGs). In the Final EIS, the project examined regional emissions of these
  pollutants on a broad scale and followed FHWA guidance in Interim Guidance Update on Mobile Source Air
  Toxic Analysis in NEPA (December 6, 2012).

  The Final EIS included an emissions inventory of atmospheric carbon dioxide for all alternatives discussed.
  Though there is new GHG guidance, Interagency Consultation with FHWA, EPA, and APCD confirmed that it
  is not necessary to repeat this analysis because of the following reasons:




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           Changes to the project design are minimal, so changes to results of analysis at the air quality
            study area level—which includes the entire project, as well as the surrounding local road
            network—would not be noticeable
           The regional air quality inventory analysis is primarily a trend-line comparison between project
            alternatives. The Final EIS adequately discusses these trends for the use of a NEPA comparison
            and updates to the analysis for the ROD would not alter previously shown regional air quality
            trends
           The new GHG guidance states that projects that have published a Final EIS are not required to
            update their analysis

  2.1       Design Changes

  There have been minor adjustments and refinements to the design of the Preferred Alternative. The
  changes to the design resulted from public and agency comments on the Final EIS and continued evaluation
  of the Build Alternatives. These design refinements include, but are not limited to, revising some
  intersection configurations, installing ramp meters at entrance ramps, adding turn lanes on frontage roads
  and other surface streets, and revising on- and off-ramps and managed lane ingress/egress locations. These
  design refinements do not change the overall result of the analysis performed for any of the alternatives.

  Because the design modification will cause a change, albeit a minor one, to traffic patterns in the project
  area and within the comparative areas, traffic analysis was updated and air quality analysis was replicated
  using new traffic inputs to validate the comparison of reasonable alternatives in the Final EIS. The decision
  to update air quality results in this manner was confirmed through the Interagency Consultation process.

  2.2 Release of the 2040 Focus travel demand model by DRCOG
      and update of year of peak emissions

  Since the Final EIS, DRCOG released its updated 2040 RTP, which utilizes the Focus travel demand model.
  Although the trip-based Compass travel demand model used for the Final EIS continues to be an approved
  resource for quantifying traffic in the region, CDOT decided in consultation with the interagency partners to
  revise the traffic volumes used for the NEPA comparative analysis should be developed from the Focus
  travel demand model.

  As of March 16, 2016, the Central 70 Project has been incorporated into the 2015 Cycle 2 Amendments to
  the 2040 Fiscally Constrained RTP. The carbon monoxide and PM10 analyses have been updated since the
  Final EIS reflecting the 2040 timeframe of DRCOG 2040 RTP. Additionally, 2040 has been identified as the
  year of peak emissions based on regional transportation and air quality analysis that show 2040 to be the
  year of the highest traffic volume and highest regional emissions of PM10 and carbon monoxide (DRCOG,
  2016a; DRCOG, 2015a).

  2.3 Change in the PM10 Study Area

  The air quality comparative analysis was conducted at locations that are expected to have the highest
  concentrations of PM10 across the study area. Changes to the study area are described in Section 3.2 of this
  document.



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  3 NEPA COMPARATIVE ANALYSIS

  This section discusses the updates to the results of the air quality comparative analysis and the effects of
  the alternatives on carbon monoxide and PM10 emissions. This analysis is not meant to meet the
  requirements for the project-level conformity determination for I-70 East, but as an update to the
  comparison of effects between the alternatives discussed in the Final EIS for NEPA purposes.

  3.1 Carbon Monoxide Analysis Methodology

  As described above, design changes made since the release of the Final EIS resulted in minor modifications
  to traffic patterns. To reflect these changes, all of the alternatives were updated using the 2040 travel
  demand model with links revised to reflect the design changes. The new traffic data were used to update
  the carbon monoxide comparative models, as agreed to through Interagency Consultation.

  During Interagency Consultation, the EPA Administrator for Region 8 approved a process decision to
  streamline the comparative intersection analysis of numerous years by creating a worst-case scenario using
  the worst-case emissions factors combined with the worst traffic volume. As agreed to by the EPA
  Administrator and reported in the Final EIS, the carbon monoxide analysis for the I-70 East Project used the
  highest vehicle miles traveled (VMT) activity in the year 2035, combined with the Motor Vehicle Emissions
  Simulator (MOVES) emissions factors in the opening year 2010.

  For the update of the carbon monoxide NEPA comparative analysis, the methodology remained primarily
  the same as the Final EIS. The highest emission factors (2022) were combined with the highest traffic
  volumes (2040). Because the improvements will not be built for several more years, 2022 was judged to be
  more representative of opening-day conditions than 2010. This method overstates carbon monoxide
  concentrations, but ensures the maximum potential carbon monoxide concentrations are considered.
  Other modeling parameters, such as meteorology, were consistent with those used during Final EIS carbon
  monoxide hotspot analysis.

  Model selection

  An emissions model and an air quality dispersion model were selected through the Interagency
  Consultation process. The analysis for the ROD used the same models as with the Final EIS, and continued
  to use EPA’s MOVES2010b model at the project level to estimate emissions for each roadway link in the
  carbon monoxide study area. The update to the analysis started in May 2016 during the MOVES2014 grace
  period

  As with the Final EIS, EPA’s CAL3QHC software was used to conduct carbon monoxide dispersion modeling.

  Model year

  The worst traffic year was updated following the Final EIS, from 2035 to 2040. As discussed above, this
  update is consistent with regional air quality modeling and with the choice to represent the worst-case
  scenario. CDOT agreed with APCD’s request to use 2022 for the updated modeling to represent the project
  opening year. The project analysis is required to account for the year of peak emissions within the time
  frame of the long range plan, and 2010 is not within that timeframe.



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  Locations to model

  As with the Final EIS, the Colorado Boulevard interchange was identified as the location to represent the
  worst traffic conditions on the corridor. For the Final EIS, a sensitivity analysis was performed using the
  DynusT traffic model to validate the choice of the I-70 interchange at Colorado Boulevard as the worst-case
  location for the carbon monoxide NEPA comparative analysis. The analysis found that the I-70 interchanges
  at Quebec Street and Colorado Boulevard are the two worst interchanges in 2035, with the model
  predicting slightly higher carbon monoxide emissions at the Quebec Street interchange due to higher traffic
  volumes and longer delays.

  While updating the traffic data to the most recent 2040 Focus model released since publication of the Final
  EIS, the traffic volumes at Colorado Boulevard and Quebec Street were reviewed again. The predicted 2040
  traffic Level of Service (LOS) at Colorado Boulevard in the morning (AM) and afternoon (PM) peak hours is
  LOS D. The same relatively small differences in traffic and congestion between the two intersections exist in
  the new 2040 model as was reported in the Final EIS. The predicted results from modeling carbon
  monoxide emissions would vary only by 0.2 parts per million (ppm) to 0.4 ppm, as disclosed in the Final EIS
  Air Quality Technical Report. Given the minimal differences, continued use of the I-70 and Colorado
  Boulevard interchange as the location for the carbon monoxide analysis is appropriate.

  Emission factors

  Carbon monoxide emission factors were developed using MOVES2010b for 2040. Carbon monoxide
  emission factors were developed for various vehicle types, road slopes, road types, and vehicle speeds.
  From these data, composite carbon monoxide emission factors were developed for each road segment by
  referencing emission factors for DRCOG traffic links, depending on the traffic and geographic characteristics
  of those links.

  Background concentrations

  To estimate maximum carbon monoxide concentrations, modeled results were added to background
  values provided by APCD. Values for background concentrations in the year 2040 related to measured
  concentrations in the NAAQS are as follows:

         One-hour background concentration = 5.5 ppm
         Eight-hour background concentration = 3.6 ppm
  These values show a 14-percent reduction from the one-hour background concentration estimates used in
  the Final EIS and a 21-percent reduction for eight-hour background concentrations.

  Alternatives analyzed

  As discussed previously, the primary purpose of the comparative analysis is to update results documented
  in the Final EIS based on minor design changes and traffic forecasts for the year 2040. As agreed to by the
  EPA Region 8 Administrator and reported in the Final EIS, the carbon monoxide analysis for the I-70 East
  Project used the highest VMT activity in 2040 combined with the MOVES emissions factors in the opening
  year. This method produces artificial modeling conditions that overstate carbon monoxide concentrations,
  but ensures the maximum potential carbon monoxide concentrations are considered.


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 3.2 PM10 Analysis Methodology

 As described above, design changes made since the release of the Final EIS resulted in minor modifications
 to traffic patterns. The new traffic data were used to update the PM10 comparative models for each
 reasonable alternative in the Final EIS, as agreed to by Interagency Consultation.

 Methodology for conducting the PM10 comparative analysis, as well as for calculating a design value, are
 consistent with processes documented in the Final EIS. EPA’s guidance (EPA-420-B-15-084) for calculating
 design values was applied to the PM10 comparative analysis; and the design values estimated through the
 comparative analysis were assessed for each alternative and compared against the NAAQS for PM10.

 Model selection

 Continued from the Final EIS, EPA’s MOVES2010b model was used at the project scale to estimate
 emissions for each roadway link. EPA’s AERMOD model (version 15181) was selected through Interagency
 Consultation for the air dispersion analysis and estimation of pollutant concentrations at receptors in the
 local near-road land areas. AERMOD can model lowered sections of roadway, as in the Partial Cover
 Lowered Alternative, as well as the outflow from the proposed covered portion of I-70.

 Model year

 As discussed previously, for consistency with regional air quality modeling and based on assumptions
 developed from regional PM10 modeling results, 2040 has been identified as the year of peak emissions,
 and is, therefore, the most indicative of the worst air quality conditions for a comparative analysis.

 Locations to model

 The air quality comparative analysis was conducted at locations that are expected to have the highest
 concentrations of PM10 across the study area. Considerations for locations with the highest concentrations
 include areas with the highest traffic volumes and congestion, nearby land uses with public access, high
 numbers of diesel vehicles, and other factors.

 Based on the locations of maximum receptors and results presented in the Final EIS, the interchange of I-70
 and I-25 and the interchange of I-70 and Interstate 225 (I-225) have been maintained as the primary focus
 areas for the NEPA comparative analysis (see Figure 1). Previous modeling indicated that the highest
 concentrations were predicted along the I-25 corridor and along I-70 at the I-225 interchange.




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 Figure 1     Locations for Comparative Air Quality Analysis




                                             35th Av


                    Martin Luther Kin,Blvd

                     29th An




     1 MILE


 For the project analysis, traffic links were included in the air quality model if there was a design or
 operational change to the roadway network or if the project had a negative impact on roadway operations.
 This included local roads and intersection operations where there are designs that add capacity.

 Emission factors

 Emission factors for PM10 were developed using MOVES2010b. PM10 emission factors were developed for
 various vehicle types, road slopes, road types, and vehicle speeds. From these data, composite particulate
 emission factors were developed for each road segment by referencing emission factors for DRCOG traffic
 links, depending on the traffic and geographic characteristics of those links.

 Road dust from mobile sources is the major contributor of particulate emissions from the project. MOVES
 does not calculate particulate matter emissions from road dust. To estimate road dust and sanding
 emissions for this analysis, emissions factors from the most recent PM10 conformity modeling were used,
 accounting for dust mitigation controls committed to by CDOT in consultation with APCD.

 Background concentrations

 Updated EPA guidance (see Attachment B, Updates to Agency Consultation Addendum) requires use of the
 third highest PM10 value over a three-year period, excluding exceptional events, to represent background
 concentrations. For the NEPA comparative analysis, the background concentrations were estimated using
 2012 to 2014 data, resulting in a background PM10 value of 113 micrograms per cubic meter (μg/m3)




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 Alternatives analyzed

 As discussed previously, the primary purpose of the comparative analysis is to update results documented
 in the Final EIS based on minor design changes and traffic forecasts for the year 2040. To accomplish this,
 the following alternatives were analyzed:
        No-Action Alternative
        Revised Viaduct Alternative, General-Purpose Lanes
        Revised Viaduct Alternative, Managed Lanes
        Partial Cover Lowered Alternative, General-Purpose Lanes
        Partial Cover Lowered Alternative, Managed Lanes (Preferred Alternative)
        Central 70 (Phase 1)

 Receptor grid

 The methodology to determine the receptor placement remained the same for the air quality update as
 described in the Final EIS. However, the design changes described above required minor changes to the
 location of the receptors in the comparative model. The project limits are different with the design
 modifications, and because the receptor grid is required to be a certain distance from the roadway, the
 placement of receptors changed.

 3.3 Modeled Results

 3.3.1 Carbon Monoxide

 Table 1 and Figure 2 show the modeled 1-hour and 8-hour carbon monoxide concentrations from CAL3QHC
 and the resulting total carbon monoxide concentrations for the Preferred Alternative and Central 70
 Project for the AM and PM peak periods at I-70 and Colorado Boulevard. Concentrations in the table are
 shown for the receptors with the highest levels inside the study area for the carbon monoxide analysis. As
 the numbers indicate, the 8-hour design values resulting from the AM and PM analysis are both well below
 the 8-hour NAAQS limit of 9.0 ppm. Since the carbon monoxide comparative analysis is a worst-case
 scenario, it is reasonable to conclude that the carbon monoxide concentrations at any intersection affected
 by the Preferred Alternative also would be well below the NAAQS limit.




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 Table 1             Carbon Monoxide Comparative Analysis Maximum Concentrations

                                                                           Carbon Monoxide Concentration in parts per million (ppm)
       Analysis Time
                                 Time of Day                                                                                      Total
          Period                                                 Background*                      Modeled
                                                                                                                          Background + Modeled
     Preferred Alternative (Partial Cover Lowered Alternative with Managed Lanes)
                                      AM                                                             1.4                              6.9
            1-hour                                                   5.5
                                      PM                                                             1.9                              7.4
                                      AM                                                             0.9                              4.5
            8-hour                                                   3.6
                                      PM                                                             1.3                              4.9
     Central 70 Project (Phase 1 of the Preferred Alternative)
                                      AM                                                             1.4                              6.9
            1-hour                                                   5.5
                                      PM                                                             1.9                              7.4
                                      AM                                                             0.9                              4.5
            8-hour                                                   3.6
                                      PM                                                             1.2                              4.8
 *Background concentrations provided by APCD.

 Maximum receptor locations

 The receptor with the maximum carbon monoxide concentrations is shown in Figure 2. The maximum
 receptor for both the AM and PM periods is located in the southwestern quadrant of the Colorado
 Boulevard interchange. This location differs from results presented in the Final EIS, which showed the
 maximum receptor in the northwestern quadrant in the AM period. Modeled concentrations make up such
 a small percentage of the total carbon monoxide concentrations that small variations in traffic input are
 exaggerated in the comparisons between modeling estimations for each receptor. This exaggeration would
 explain differences between the Final EIS and ROD modeling results.

 Figure 2            Maximum Concentration Receptor Location for Carbon Monoxide




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           Carbon Monoxide receptors • Maximum receptor locations




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 3.3.2 PM10

 Table 2 contains the comparative analysis results for the I-70/I-225 and I-70/I-25 locations, for the
 alternatives evaluated in the Final EIS. The modeled project emissions concentrations include exhaust,
 brake wear, and tire wear emissions from on-road vehicles and re-entrained road dust kicked up into the
 air by passing vehicles. Design values for PM10 are reported using EPA’s guidance (EPA-420-B-15-084). To
 develop these estimates, the 24-hour PM10 design value is rounded per guidance to the nearest 10 µg/m3.
 For example, 155.000 rounds to 160, and 154.999 rounds to 150.

 Table 2           PM10 Comparative Analysis Maximum Concentrations

                                                          PM10 Concentration in micrograms per cubic meter (µg/m3)
    Alternative/Location                                                                       Total
                                     Background                  Modeled                                             Design Value
                                                                                       Background + Modeled
  No-Action Alternative
  I-70 and I-25                                                   40.396                      153.396                    150
                                         113
  I-70 and I-225                                                  28.732                      141.732                    140
  Preferred Alternative (Partial Cover Lowered Alternative with Managed Lanes)
  I-70 and I-25                                                   41.196                      154.196                    150
                                         113
  I-70 and I-225                                                  32.285                      145.285                    150
  Central 70 Project (Phase 1 of the Preferred Alternative)
  I-70 and I-25                                                   41.136                      154.136                    150
                                         113
  I-70 and I-225                                                  32.220                      145.220                    150
  Revised Viaduct Alternative, General-Purpose Lanes
  I-70 and I-25                                                   41.554                      154.554                    150
                                         113
  I-70 and I-225                                                  30.564                      143.564                    140
  Revised Viaduct Alternative, Managed Lanes
  I-70 and I-25                                                   41.073                      154.073                    150
                                         113
  I-70 and I-225                                                  32.968                      144.968                    140
  Partial Cover Lowered Alternative, General-Purpose Lanes
  I-70 and I-25                                                   41.703                      154.703                    150
                                         113
  I-70 and I-225                                                  31.085                      144.085                    140

 Maximum receptor locations

 Similarly to the Final EIS, PM10 concentration levels vary throughout the I-25 and I-225 PM10 comparative
 analysis areas depending on the alternative modeled. Figure 3 and Figure 4 show receptor locations and
 maximum receptor values for the I-70/I-25 and I-70/I-225 PM10 comparative areas for all alternatives
 analyzed. As shown, the maximum receptor for all alternatives is located in the southeast quadrant of the
 I-25/I-70 interchange.




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 Figure 3
 Figure    Maximum
        3 Maximum  ConcentrationReceptor
                  Concentration  ReceptorLocations
                                          Locations for
                                                    for PM
                                                        PM10
                                                           10 at
                                                              at I-70/I-25
                                                                 I-70/I-25




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 Figure 4     Maximum Concentration Receptor Locations for PM10 at I-70/I-225




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    • Receptor           Maximum receptor:              No-Action Alternative                                                   Approximate Scale
                                                       L Partial Cover Lowered Alternative — Phase 1
                                                                                                                                     0           1,000 feet
                                                        Partial Cover Lowered Alternative — General Purpose Lanes
                                              •         Partial Cover Lowered Alternative — Managed Lanes
                                                        Revised Viaduct Alternative — General Purpose Lanes

                                                      — Revised Viaduct Alternative — Managed Lanes

 Based on the values reported in Table 2, the results of the PM10 comparative analysis demonstrate that all
 of the alternatives are within a 7-percent difference and many values are estimated to have the same
 design value. The No Action and Revised Viaduct Alternatives are estimated to have a design value of 140
 µg/m3 while the other alternatives, including the Preferred Alternative and the Central I70 Project, have a
 design value of 150 µg/m3. It should be noted that all alternatives including the Preferred Alternative, will
 be in compliance with the applicable 24-hour NAAQS standard for PM10 (150 µg/m3).

 As with results presented in the Final EIS, the design values presented in Table 2 simulate worst-case
 conditions because they represent the highest PM10 concentrations at the highest traffic volume locations
 in the corridor. Therefore, it can be assumed that the PM10 concentrations would be lower than these
 values at every possible receptor location throughout the corridor, including all schools, parks, open
 spaces, and other places.




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 4 CONCLUSIONS

 As stated previously, carbon monoxide concentrations for the Preferred Alternative and Central 70 Project
 for the AM and PM peak periods at I-70 and Colorado Boulevard are both well below the 8-hour NAAQS
 limit of 9.0 ppm. Since the carbon monoxide comparative analysis is a worst-case scenario, it is reasonable
 to conclude that the carbon monoxide concentrations at any intersection affected by the Preferred
 Alternative also would be well below the NAAQS limit.

 The results of the PM10 comparative analysis demonstrate that all of the alternatives are within a 7-percent
 difference and many values are estimated to have the same design value. All alternatives including the
 Preferred Alternative, will be in compliance with the applicable 24-hour NAAQS standard for PM10 (150
 µg/m3).




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